              Case 3:23-bk-31504                  Doc 1     Filed 09/19/23 Entered 09/19/23 14:44:47                               Desc Main
                                                            Document     Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Commuter Advertising, Inc.

2.   All other names debtor
     used in the last 8 years
                                  DBA Commuter Advertising
     Include any assumed          DBA CommuterAds
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  312 N Patterson Blvd., Suite 240
                                  Dayton, OH 45402
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 3:23-bk-31504                    Doc 1        Filed 09/19/23 Entered 09/19/23 14:44:47                                      Desc Main
                                                                 Document     Page 2 of 15
Debtor    Commuter Advertising, Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
               Case 3:23-bk-31504                       Doc 1        Filed 09/19/23 Entered 09/19/23 14:44:47                                 Desc Main
                                                                     Document     Page 3 of 15
Debtor    Commuter Advertising, Inc.                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 3:23-bk-31504            Doc 1      Filed 09/19/23 Entered 09/19/23 14:44:47                        Desc Main
                                                      Document     Page 4 of 15
Debtor   Commuter Advertising, Inc.                                                    Case number (if known)
         Name

                              $50,001 - $100,000                           $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                          $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                        $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
              Case 3:23-bk-31504                Doc 1       Filed 09/19/23 Entered 09/19/23 14:44:47                                 Desc Main
                                                            Document     Page 5 of 15
Debtor    Commuter Advertising, Inc.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 19, 2023
                                                  MM / DD / YYYY


                             X /s/ Russ Gottesman                                                         Russ Gottesman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Denis E. Blasius                                                        Date September 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Denis E. Blasius 0082617
                                 Printed name

                                 Thomsen Law Group, LLC
                                 Firm name

                                 140 North Main Street, Suite A
                                 Springboro, OH 45066
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     937-748-5001                  Email address      dblasius@ihtlaw.com

                                 0082617 OH
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
          Case 3:23-bk-31504                  Doc 1       Filed 09/19/23 Entered 09/19/23 14:44:47                             Desc Main
                                                          Document     Page 6 of 15




Fill in this information to identify the case:

Debtor name         Commuter Advertising, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF OHIO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 19, 2023              X /s/ Russ Gottesman
                                                           Signature of individual signing on behalf of debtor

                                                            Russ Gottesman
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 3:23-bk-31504              Doc 1        Filed 09/19/23 Entered 09/19/23 14:44:47                                          Desc Main
                                                             Document     Page 7 of 15

 Fill in this information to identify the case:
 Debtor name Commuter Advertising, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF OHIO                                                                           Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Credit Card               Contingent                                                                        $33,554.72
 PO Box 981535                                                                 Unliquidated
 El Paso, TX 79998                                                             Disputed
 Central Ohio Transit                                Transit Payable                                                                                             $61,648.16
 Authority
 33 N. High Street
 Columbus, OH
 43215
 Chase Bank                                          Credit Card               Contingent                                                                        $16,000.00
 National Bank By                                                              Unliquidated
 Mail                                                                          Disputed
 P.O. Box 6185
 Westerville, OH
 43086
 Coolidge Wall                                       Legal Services            Contingent                                                                      $121,146.32
 33 W First St Suite                                                           Unliquidated
 200                                                                           Disputed
 Dayton, OH 45402
 Crawford Hoying                                     Lease                     Contingent                                                                          $6,999.00
 Real Estate Services                                                          Unliquidated
 LLC                                                                           Disputed
 555 Metro Place
 North, Suite 600
 Dublin, OH 43017
 CSC                                                 Corporation               Contingent                                                                          $4,719.65
 2751 Little Falls                                   Services                  Unliquidated
 Drive                                                                         Disputed
 Wilmington, DE
 19808
 Culligan of Fairborn                                Water services                                                                                                    $86.11
 7606 Dayton
 Springfield Road
 Fairborn, OH 45324




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                Case 3:23-bk-31504              Doc 1        Filed 09/19/23 Entered 09/19/23 14:44:47                                          Desc Main
                                                             Document     Page 8 of 15


 Debtor    Commuter Advertising, Inc.                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Des Moines Area                                     Transit Payable                                                                                               $3,997.09
 Regional Transit
 Auth
 620 Cherry Street
 Des Moines, IA
 50309
 Hillsboro Transit                                   Transit Payable                                                                                             $20,575.92
 Authority
 1201 E. 7th Avenue
 Tampa, FL 33605
 Incito Solutions                                    IT Support                                                                                                    $3,859.26
 PO Box 751586
 Dayton, OH 45475
 Kansas City Area                                    Transit Payable                                                                                             $22,140.13
 Transportation Auth
 1350 East 17th
 Street
 Kansas City, MO
 64108
 Michelle Maro                                       Judgment, United          Disputed                                                                        $637,182.13
 c/o Michelle Lee                                    States District
 Carey, Esq.                                         Court, Southern
 150 South Wacker                                    District of Ohio
 Dr.
 Chicago, IL 60606
 Milwaukee                                           Alleged Breach of Contingent                                                                                $36,019.86
 Transport Services,                                 Contract          Unliquidated
 Inc.                                                                  Disputed
 1942 N. 17th Street
 Milwaukee, WI
 53205
 Pace                                                Transit Payable                                                                                             $61,981.00
 Attn: Rebecca Howe
 550 W. Algonquin
 Road
 Rolling Meadows, IL
 60008
 Southwest Ohio                                      Transit Payable                                                                                             $49,301.19
 Transit Authority
 1401-B Bank Street
 Cincinnati, OH
 45214




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
    Case 3:23-bk-31504   Doc 1   Filed 09/19/23 Entered 09/19/23 14:44:47   Desc Main
                                 Document     Page 9 of 15


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         American Express
                         PO Box 981535
                         El Paso, TX 79998

                         Ann R. Berger
                         6760 Trailview Dr.
                         Dayton, OH 45414

                         Carol Warner
                         109 N. Main Street, Suite 1000
                         Dayton, OH 45402

                         Central Ohio Transit Authority
                         33 N. High Street
                         Columbus, OH 43215

                         Chase Bank
                         National Bank By Mail
                         P.O. Box 6185
                         Westerville, OH 43086

                         Cincinnati State
                         3520 Central Parkway
                         Cincinnati, OH 45223

                         Community Health Council of Wyandotte
                         803 Armstrong Ave
                         Kansas City, KS 66101

                         Coolidge Wall
                         33 W First St Suite 200
                         Dayton, OH 45402

                         Core Network
                         Attention: Bob Savage
                         425 Jefferson Avenue, Suite 700
                         Toledo, OH 43604

                         County of San Bernardino Workforce
                         268 W. Hospitality Ln, 4th Floor
                         San Bernardino, CA 92415

                         Crawford Hoying Real Estate Services LLC
                         555 Metro Place North, Suite 600
                         Dublin, OH 43017

                         Crime Stoppers of Tampa Bay
                         PO Box 5766
                         Tampa, FL 33675

                         CSC
                         2751 Little Falls Drive
                         Wilmington, DE 19808
Case 3:23-bk-31504   Doc 1    Filed 09/19/23 Entered 09/19/23 14:44:47   Desc Main
                             Document      Page 10 of 15



                     CSL Plasma Center #150
                     2617 Northland Plaza Dr.
                     Columbus, OH 43231

                     CSL Plasma Center #177
                     4970 Delhi Pike
                     Cincinnati, OH 45238

                     CSL Plasma Center #409
                     2650 N High St.
                     Columbus, OH 43202

                     CSL Plasma Center #507
                     2008 N Riverside Ave Suite B
                     Rialto, CA 92377

                     Culligan of Fairborn
                     7606 Dayton Springfield Road
                     Fairborn, OH 45324

                     Dan Graham
                     5767 Stone Lake Dr.
                     Dayton, OH 45429

                     Dayton Region Signature Fund
                     Attention: Carol Warner
                     1401 S. Main Street, Suite 200
                     Dayton, OH 45409

                     Des Moines Area Regional Transit Auth
                     620 Cherry Street
                     Des Moines, IA 50309

                     Doug Ditzel
                     9000 N Main St G-36
                     Dayton, OH 45415

                     Drake University Head Start
                     3800 Merie Hay Rd, Ste 323
                     Des Moines, IA 50310

                     Frank Winslow
                     109 N. Main Street, Suite 1000
                     Dayton, OH 45402

                     Hillsboro Transit Authority
                     1201 E. 7th Avenue
                     Tampa, FL 33605

                     Huntington National Bank
                     105 East Fourth Street, Suite 200A
                     Cincinnati, OH 45202
Case 3:23-bk-31504   Doc 1    Filed 09/19/23 Entered 09/19/23 14:44:47   Desc Main
                             Document      Page 11 of 15



                     Incito Solutions
                     PO Box 751586
                     Dayton, OH 45475

                     Internal Revenue Service
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346

                     Iowa Dept of Health and Human Services
                     505 Hobbs Rd.
                     Jefferson City, MO 65109

                     Jerry T. Cheadle
                     27750 Marina Isle Ct
                     Bonita Springs, FL 34134

                     Kansas City Area Transportation Auth
                     1350 East 17th Street
                     Kansas City, MO 64108

                     Kathy Geiger-Schwab
                     12127 East Casitas Del Rio Drive
                     Scottsdale, AZ 85255

                     Lifeline of Ohio
                     770 Kinnear Road
                     Columbus, OH 43212

                     Matthew C. Curran, Esq.
                     Robbins, Kelly, Patterson, & Tucker
                     312 Elm Street
                     Cincinnati, OH 45202

                     Michael Yont
                     1116 Pine Valley Road
                     Griffin, GA 30224

                     Michelle L. Carey, Esq.
                     Friedman Maguire & Carey, P.C.
                     150 S. Wacker Drive, Suite 2600
                     Chicago, IL 60606

                     Michelle Maro
                     c/o Michelle Lee Carey, Esq.
                     150 South Wacker Dr.
                     Chicago, IL 60606

                     Mid-America Regional Council
                     600 Broadway, Ste. 200
                     Kansas City, MO 64105

                     Milwaukee Transport Services, Inc.
                     1942 N. 17th Street
                     Milwaukee, WI 53205
Case 3:23-bk-31504   Doc 1    Filed 09/19/23 Entered 09/19/23 14:44:47   Desc Main
                             Document      Page 12 of 15



                     NAMI of Southwest Ohio
                     4055 Executive Park Drive, Suite 450
                     Cincinnati, OH 45241

                     Nathaniel J. Brinkman
                     815 Bowen St.
                     Dayton, OH 45410

                     Ohio Association of Foodbanks
                     100 E. Broad St, Ste. 501
                     Columbus, OH 43215

                     Ohio Attorney General
                     Attn: Bankruptcy Unit
                     150 East Gay Street, 21st Floor
                     Columbus, OH 43215

                     Ohio Bureau of Wokrers' Compensation
                     Attn: Law Section Bankruptcy Unit
                     P.O. Box 15567
                     Columbus, OH 43215-0567

                     Ohio Department of Job & Family Services
                     Revenue Recovery - Litigation
                     PO Box 182404
                     Columbus, OH 43218

                     Ohio Department of Taxation
                     C/O Bankruptcy Division
                     30 East Broad Street, 21st Floor
                     Columbus, OH 43215

                     Omnitrans
                     1700 West Fifth Street
                     San Bernardino, CA 92411

                     Opportunity Port
                     170 S. Civic Center Dr.
                     Columbus, OH 43215

                     Pace
                     Attn: Rebecca Howe
                     550 W. Algonquin Road
                     Rolling Meadows, IL 60008

                     Russell Gottesman
                     1 Oakwood Ave #542
                     Dayton, OH 45409

                     Samantha Schwab
                     13143 Cherokee Trail
                     Cleveland, OH 44130
Case 3:23-bk-31504   Doc 1    Filed 09/19/23 Entered 09/19/23 14:44:47   Desc Main
                             Document      Page 13 of 15



                     Santa Maria Community Services, Inc.
                     617 Steiner Ave.
                     Cincinnati, OH 45204

                     Securities and Exchange Commission
                     175 West Jackson Blvd
                     Suite 900
                     Chicago, IL 60604

                     Sheets c/o Hamelin Media
                     525 Righters Ferry Road
                     Bala Cynwyd, PA 19004

                     Show Me KC Schools
                     2029 Wyandotte Street, Suite 101
                     Kansas City, MO 64108

                     Southwest Ohio Transit Authority
                     1401-B Bank Street
                     Cincinnati, OH 45214

                     Taft Venture Partners
                     631 Dickinson Ave.
                     Greenville, NC 27834

                     Tecra Systems
                     ATTN: Giri Gondi
                     9050 N Capital of Texas HWY #300
                     Austin, TX 78759

                     Teeraporn Visutvattanasak
                     70 W Huron St. Apt 1709
                     Chicago, IL 60654

                     The Closing Company, LLC
                     1 Oakwood Ave #542
                     Dayton, OH 45409

                     The HealthCare Connection
                     1401 Steffen Avenue
                     Cincinnati, OH 45215

                     U.S. Attorney -- Dayton
                     602 Federal Building
                     200 West Second Street
                     Dayton, OH 45402

                     U.S. Attorney General
                     Main Justice Building Rm 5111
                     10th & Constitution Ave. N.W.
                     Washington, DC 20530

                     U.S. Small Business Administration
                     409 3rd Street, SW
                     Washington, DC 20416
Case 3:23-bk-31504   Doc 1    Filed 09/19/23 Entered 09/19/23 14:44:47   Desc Main
                             Document      Page 14 of 15



                     University of Dayton
                     Attention Jay Janney, Miriam Hall #208
                     300 College Park
                     Dayton, OH 45469

                     US Air Force Reserve
                     6383 Brandt Pike
                     Dayton, OH 45424

                     Vicki Saunders
                     4959 Kinshill Dr. Apt 212
                     Columbus, OH 43229

                     Village of Oak Park
                     123 Madison St.
                     Oak Park, IL 60302
         Case 3:23-bk-31504           Doc 1    Filed 09/19/23 Entered 09/19/23 14:44:47                 Desc Main
                                              Document      Page 15 of 15



                                          United States Bankruptcy Court
                                                 Southern District of Ohio
 In re   Commuter Advertising, Inc.                                                    Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Commuter Advertising, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 19, 2023                               /s/ Denis E. Blasius
Date                                             Denis E. Blasius 0082617
                                                 Signature of Attorney or Litigant
                                                 Counsel for Commuter Advertising, Inc.
                                                 Thomsen Law Group, LLC
                                                 140 North Main Street, Suite A
                                                 Springboro, OH 45066
                                                 937-748-5001 Fax:937-748-5003
                                                 dblasius@ihtlaw.com
